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                     IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE SOUTHERN DISTRICT OF GEORGIA
                                SAVANNAH DIVISION

In re:                                    §
                                          §     Chapter 7
RONALD W. MCELHANEY,                      §     Case Number: 17-40839-EJC
                                          §
      Debtor.                             §
                                          §
TIFFANY E. CARON,                         §
Chapter 7 Trustee,                        §
                                          §
      Plaintiff,                          §
                                          §
vs.                                       §     Adversary Number: 17-04041-EJC
                                          §
PATRICIA H. EMRICH,                       §
                                          §
      Defendant.                          §
______________________________________________________________________________

      NOTICE OF MOTION TO APPROVE COMPROMISE OR SETTLEMENT
                      AND OPPORTUNITY FOR HEARING
______________________________________________________________________________

Movant has filed a Motion with this Court seeking approval of a settlement or compromise, copy
attached hereto.

If you have legal grounds to oppose the motion, or if you wish the Court to consider your views
on the motion, you must file a written request for a hearing with the Clerk of the Bankruptcy
Court before the expiration of twenty-one (21) days from the date stated in the certificate of
service.

If you mail your request for hearing to the Court, you must mail it early enough so that it will be
received before the time referenced above.

Any request for a hearing must also be mailed to the moving party and all other persons
indicated in the certificate of service attached to these pleadings.

If a timely request is filed, you will receive notice of the date, time, and place of the hearing.

If you or your attorney does not take these steps, the Court will decide that you do not oppose the
motion and will enter an order granting it.

Date:    11/13/2017                                                /s/ Tiffany E. Caron_______
                                                                Attorney for Trustee
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                    IN THE UNITED STATES BANKRUPTCY COURT
                     FOR THE SOUTHERN DISTRICT OF GEORGIA
                               SAVANNAH DIVISION

In re:                                             §
                                                   §       Chapter 7
RONALD W. MCELHANEY,                               §       Case Number: 17-40839-EJC
                                                   §
         Debtor.                                   §

                                          §
TIFFANY E. CARON,                         §
Chapter 7 Trustee,                        §
                                          §
      Plaintiff,                          §
                                          §
vs.                                       §     Adversary Number: 17-04041-EJC
                                          §
PATRICIA H. EMRICH,                       §
                                          §
      Defendant.                          §
______________________________________________________________________________

     MOTION FOR AUTHORITY TO COMPROMISE CLAIM OF THE ESTATE
                   PURSUANT TO BANKRUPTCY RULE 9019
______________________________________________________________________________

         COMES NOW, Chapter 7 Trustee, Tiffany E. Caron (“Trustee”), by and through counsel

of record, Tiffany E. Caron, and hereby moves this Court, pursuant to Bankruptcy Rule 9019, to

approve a compromise and settlement of the estate’s claim against Defendant, Patricia H. Emrich

(“Defendant” or “Ms. Emrich”).      In support of this Motion, movant respectfully states as

follows:

         1.    Plaintiff, Tiffany E. Caron, is the duly appointed bankruptcy trustee in the

               above-captioned Chapter 7 case.

         2.    The Debtor filed this Chapter 7 case on June 6, 2017 in the Southern District

               of Georgia, Savannah Division (the “Bankruptcy Case”).

         3.    Debtor listed on Schedule A, real property he owned jointly with Patricia H.
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               Emrich as follows: 526 E. 46th Street, Savannah, Georgia 31405 (the

               “Property”).

       4.      On or around April 14, 2014, by Quit Claim Deed, Debtor transferred ninety-

               nine percent (99%) of his ownership interest in the Property for stated

               consideration of $10.00 (the “Transfer”) to Defendant, and one percent (1%)

               to himself.

       5.      The Trustee alleges that the Debtor made the Transfer for no consideration.

       6.      Defendant, Patricia H. Emrich received the Transfer from the Debtor within

               four (4) years of the filing of this Bankruptcy Case.

       7.      The Trustee alleges the Debtor received less than reasonably equivalent value

               in exchange for the Transfer.

       8.      The Trustee alleges the Debtor was insolvent at the time of the Transfer.

       9.      The Trustee alleges, pursuant to 11 U.S.C. §544 and O.C.G.A. §18-2-70 to

               §18-2-80, the forgoing Transfer is avoidable by the Trustee as a fraudulent

               transfer.

       10.     Defendant has filed an Answer denying the Trustee’s allegations.

       The Trustee and Defendant, Patricia H. Emrich (the “Parties”), through counsel, have

come to an agreement to resolve this Adversary Proceeding. The Parties have agreed that the

Trustee will market the Property for sale and that the Parties will split the Net Proceeds (Net

Proceeds shall be defined as: the funds remaining after payment of real estate commission, pro-

rated real property taxes, seller’s closing costs, secured debts and liens) as follows:

   A. Defendant, Patricia Emrich shall receive thirty percent (30%) of the Net Proceeds of the

       sale of the Property at closing.
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   B. In consideration for the forgoing, Ms. Emrich shall cooperate in the listing, marketing,

       showing and sale of the Property.

   C. Ms. Emrich shall keep the Property in reasonably good, showable condition and shall

       allow reasonable access to the Property for potential buyers and their agents.

   D. Ms. Emrich may use the Property as her residence until closing.

   E. Ms. Emrich consents to the attached order, subject to the forgoing settlement terms.

   F. Ms. Emrich shall sign any documents necessary to facilitate the closing of any sale of the

       Property.

   G. By agreement of the Parties, the remaining seventy percent (70%) of the Net Proceeds of

       any sale of the Property shall be paid to the Trustee for the benefit of the bankruptcy

       estate.

       Due to the costs of litigation, the Trustee believes it is in the best interest of the estate to

settle with Defendant as set forth above in full satisfaction of the estate’s claim against

Defendant based on the Transfer. The Trustee is requesting approval to settle with Defendant as

set forth above. The attached Consent Order shall resolve all of the issues raised in this

Adversary Proceeding.

                                             Authority

       Settlements are generally favored in bankruptcy proceedings in that they provide for

often needed and efficient resolution of bankruptcy cases. Under Bankruptcy Rule 9019(a), the

bankruptcy court may approve a compromise or settlement “on motion by the trustee and after a

hearing on notice to creditors, the debtor and indenture trustee . . . .” In conducting a hearing

under Rule 9019(a), the bankruptcy court must determine whether the proposed compromise is

fair and equitable and in the best interests of the bankruptcy estate. Protective Committee for

Independent Stockholders of TMT Trailer Ferry, Inc. v. Anderson, 390 U.S. 414, 424, 88 S. Ct.
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1157, 1163, 20 L. Ed. 2d 1 (1968).          “In determining whether to approve a settlement, a

bankruptcy court must evaluate whether the proposed compromise falls below the ‘lowest point

in the range of reasonableness.’ Martin v. Pahiakos (In re Martin), 490 F.3d 1272, 1275-76 (11th

Cir. 2007) (citing Cosoff v. Rodman (In re W.T. Grant Co.), 699 F.2d 599, 608 (2d Cir. 1983)). If

a settlement passes this low threshold, the court should approve the compromise. Specifically, a

court in this District must consider the four factors set forth by the Eleventh Circuit in Justice

Oaks (the "Justice Oaks Factors").” In this context, it is appropriate for the bankruptcy estate to

examine four factors in deciding whether to approve or disapprove a settlement. These factors

are as follows: (1) the probability of success in litigation; (2) the likely difficulties in collection;

(3) the complexity of the litigation involved, and the expense, inconvenience and delay

necessarily attending it; and (4) the paramount interest of the creditors and a proper deference to

their reasonable view in the premises. In re Justice Oaks II, Ltd., 898 F.2d 1544, 1549 (11th Cir.

1990), cert. denied, 498 U.S. 959, 111 S. Ct. 387, 112 L. Ed. 2d 398 (1990); In re RFE

Industries, Inc., 283 F.3d 159, 165 (3rd Cir. 2002), citing In re Martin, 91 F.3d 389, 393 (3rd Cir.

1996); In re Kay, 223 B.R. 816 (Bankr. M.D. Fla. 1998).

        WHEREFORE, Chapter 7 Trustee, Tiffany E. Caron, respectfully requests that the Court

grant this Motion giving the Trustee authority to settle the estate’s claim as set forth herein, and

for any other relief deemed just and proper under the circumstances.

        This 13th day of November, 2017.                Respectfully submitted,

                                                        MCCALLAR LAW FIRM

                                                       By:_/s/ Tiffany E. Caron___
                                                       Tiffany E. Caron
Post Office Box 9026                                   Georgia Bar Number 745089
Savannah, GA 31412                                     Attorney for Trustee
Tel: (912) 234-1215
Fax: (912) 236-7549
Tiffany.caron@mccallarlawfirm.com
Case:17-40839-EJC Doc#:50 Filed:11/13/17 Entered:11/13/17 14:39:01              Page:6 of 9


                      IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE SOUTHERN DISTRICT OF GEORGIA
                                 SAVANNAH DIVISION

In re:                                            §
                                                  §      Chapter 7
RONALD W. MCELHANEY,                              §      Case Number: 17-40839-EJC
                                                  §
         Debtor.                                  §

                                                  §
TIFFANY E. CARON,                                 §
Chapter 7 Trustee,                                §
                                                  §
         Plaintiff,                               §
                                                  §
vs.                                               §      Adversary Number: 17-04041-EJC
                                                  §
PATRICIA H. EMRICH,                               §
                                                  §
         Defendant.                               §

______________________________________________________________________________

                          CERTIFICATE OF SERVICE
______________________________________________________________________________

         I, the undersigned, do hereby certify that I have served the persons named below by

sending a copy of the foregoing Motion for Authority to Compromise Pursuant To Bankruptcy

Rule 9019, Notice of Motion to Approve Compromise or Settlement and Opportunity for a

Hearing by electronic service or by regular U.S. Mail to the address indicated, in envelopes

bearing adequate postage:

         Patricia H. Emrich
         526 East 46th Street
         Savannah, GA. 31405-2335

         Keri Martin, Esq.
         Weiner Shearouse
         P.O. BOX 10105
         Savannah, GA 31412-0305
         Attorney for Patricia H. Emrich
Case:17-40839-EJC Doc#:50 Filed:11/13/17 Entered:11/13/17 14:39:01             Page:7 of 9


      Judson C. Hill
      Gastin & Hill
      P O Box 8012
      Savannah, GA 31412

      Office of the U. S. Trustee
      Johnson Square Business Center
      2 East Bryan Street, Ste. 725
      Savannah, GA 31401

      And

      All Creditors and Parties in Interest on the attached Mailing Matrix.


This 13th day of November, 2017.

                                                   MCCALLAR LAW FIRM

                                                   By:_/s/ Tiffany E. Caron
                                                   Tiffany E. Caron
                                                   Georgia Bar Number 745089
                                                   Attorney for Trustee
Post Office Box 9026
Savannah, GA 31412
Tel: (912) 234-1215
Fax: (912) 236-7549
Tiffany.caron@mccallarlawfirm.com
Label Matrix for local noticing       ADS Security                                     American Express
113J-4         Case:17-40839-EJC Doc#:50    Filed:11/13/17
                                      3001 Armory  Drive, Suite 100Entered:11/13/17   14:39:01
                                                                                       P.O. Box 981537Page:8 of 9
Case 17-40839-EJC                     Nashville, TN 37204-3711                         El Paso TX 79998-1537
Southern District of Georgia
Savannah
Mon Nov 13 12:03:19 EST 2017
American Express Centurion Bank       Bank of America                                  (p)BANK OF AMERICA
c/o Becket and Lee LLP                P. O. Box 45144                                  PO BOX 982238
PO Box 3001                           Jacksonville FL 32232-5144                       EL PASO TX 79998-2238
Malvern PA 19355-0701


Heather Booth                             Tiffany E. Caron                             Tiffany Elizabeth Caron
13 E York Street                          P.O. Box 9026                                McCallar Law Firm
Savannah, GA 31401-3716                   Savannah, GA 31412-9026                      P O Box 9026
                                                                                       Savannah, GA 31412-9026


Tiffany E. Caron, Trustee                 Center for Digestive & Liver Health          Chase
P.O. Box 9056                             P. O. Box 14287                              Bankruptcy Unit
Savannah, GA 31412-9056                   Savannah, GA 31416-1287                      P.O. Box 15298
                                                                                       Wilmington DE 19850-5298


Chatham County Tax Commissioner           Coastal Empire Plastic Surgery               Patricia H Emrich
Attn: Theresa C. Harrelson                900 Mohawk Street                            526 E. 46th St.
Post Office Box 8324                      Suite A                                      Savannah, GA 31405-2335
Savannah, GA 31412-8324                   Savannah GA 31419-1772


Jeremiah B Gastin                         (p)GEORGIA DEPARTMENT OF REVENUE             Georgia Emergency Physician Specialists
Gastin & Hill                             COMPLIANCE DIVISION                          P. O. Box 3291
P O Box 8012                              ARCS BANKRUPTCY                              Indianapolis IN 46206-3291
Savannah, GA 31412-8012                   1800 CENTURY BLVD NE SUITE 9100
                                          ATLANTA GA 30345-3202

Judson C. Hill                            Home Depot                                   Internal Revenue Service
Gastin & Hill                             P.O. Box 6497                                Centralized Insolvency Operations
P O Box 8012                              Sioux Falls SD 57117-6497                    P.O. Box 7346
Savannah, GA 31412-8012                                                                Philadelphia PA 19101-7346


Internal Revenue Service                  Lanier Collection Agency & Services          Keri McCrary Martin
Insolvency STOP 334-D, Room 400           P.O. Box 15519                               WeinerShearouseWeitzGreenbergShawe, LLP
401 W. Peachtree Street, NW               Savannah GA 31416-2219                       14 E State Street
Atlanta GA 30308                                                                       Savannah, GA 31401-3713


Ronald W McElhaney                        Memorial Health University Med Ctr           Memorial Health University Med Ctr
526 E. 46th Street                        Box 830913                                   P. O. Box 23089
Savannah, GA 31405-2335                   Birmingham AL 35283-0913                     Savannah GA 31403-3089



Memorial Physician Prac Group             Minuteclinic of Virginia                     Office of the U. S. Trustee
P.O. Box 102763                           P. O. Box 8444                               Johnson Square Business Center
Atlanta GA 30368-2763                     Belfast ME 04915-8444                        2 East Bryan Street, Ste 725
                                                                                       Savannah, GA 31401-2638
Quest Diagnostics                     ST. Joseph’s Hospital                    Savannah Neurology Specialists
P.O. Box 740777Case:17-40839-EJC Doc#:50
                                      11705 Filed:11/13/17
                                            Mercy Blvd.      Entered:11/13/17 14:39:01
                                                                               P. O. Box 14359Page:9 of 9
Cincinnati OH 45274-0777              Savannah GA 31419-1791                   Savannah GA 31416-1359



Small Business Administration                        Small Business Assistance Corp.                      Southside Fire/EMS
1720 Peachtree Road, NW                              P. O. Box 10750                                      Mercy Ambulance Service
6th Floor, Peachtree 25th Complex                    Savannah GA 31412-0950                               1399 Dean Forest Road
Atlanta GA 30309-2449                                                                                     Savannah GA 31405-9307


St. Joseph’s/Candler                                 St.JosephsCandler                                    Transworld Systems Inc
Dept 2439                                            5353 Reynolds St                                     507 Prudential Road
P.O. Box 2252                                        Savannah, GA 31405-6015                              Horsham PA 19044-2308
Birmingham AL 35246-2439


U.S. Small Business Administration                   US Attorney                                          United States Attorney
233 Peachtree Street NE                              P. O. Box 8970                                       P.O. Box 8970
Suite 300                                            Savannah GA 31412-8970                               Savannah GA 31412-8970
Atlanta, GA 30303-1553


Wells Fargo                                          Wells Fargo                                          Wells Fargo Bank, N.A.
P. O. Box 94435                                      P.O. Box 14517                                       435 Ford Road, Suite 300
Albuquerque NM 87199-4435                            Des Moines IA 50306-3517                             St. Louis Park, MN 55426-4938



Wells Fargo Bank, N.A.                               Wells Fargo Home Mortgage                            Wells Fargo Home Mortgage
Wells Fargo Card Services                            MAC X7801-03K                                        P.O. Box 10335
PO Box 10438, MAC F8235-02F                          3476 Stateview Blvd.                                 Des Moines IA 50306-0335
Des Moines, IA 50306-0438                            Fort Mill SC 29715-7203




                   The preferred mailing address (p) above has been substituted for the following entity/entities as so specified
                   by said entity/entities in a Notice of Address filed pursuant to 11 U.S.C. 342(f) and Fed.R.Bank.P. 2002 (g)(4).


Bank of America                                      Georgia Department of Revenue
P.O. Box 982238                                      Bankruptcy Section
El Paso TX 79998-2238                                1800 Century Blvd, NE, Suite 9100
                                                     Atlanta GA 30345




                 The following recipients may be/have been bypassed for notice due to an undeliverable (u) or duplicate (d) address.


(d)Tiffany E. Caron, Trustee                         (d)Chatham County Tax Commissioner                   End of Label Matrix
P.O. Box 9056                                        Attn: Theresa C. Harrelson                           Mailable recipients      47
Savannah, GA 31412-9056                              Post Office Box 8324                                 Bypassed recipients       2
                                                     Savannah, GA 31412-8324                              Total                    49
